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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1499V
                                          UNPUBLISHED


    VERONICA WILLIAMS,                                          Chief Special Master Corcoran

                         Petitioner,
    v.                                                          Filed: September 22, 2022

    SECRETARY OF HEALTH AND                                     Special Processing Unit (SPU); Joint
    HUMAN SERVICES,                                             Stipulation on Damages; Influenza
                                                                (Flu) Vaccine; Shoulder Injury
                         Respondent.                            Related to Vaccine Administration
                                                                (SIRVA)’ Parsonage-Turner
                                                                syndrome (“PTS”)l Brachial Neuritis.

John Robert Howie, Howie Law, PC, Dallas, TX, for Petitioner.

Naseem Kourosh, U.S. Department of Justice, Washington, DC, for Respondent.

                                DECISION ON JOINT STIPULATION1

       On October 29, 2020, Veronica Williams filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner received an influenza (“flu”) vaccine, which vaccine is contained
in the Vaccine Injury Table (the “Table”), 42 C.F.R. § 100.3(a), in her right deltoid on
October 30, 2017. Petitioner alleges that she sustained a shoulder injury related to
vaccine administration (SIRVA) as set forth in the Table, and Parsonage-Turner
syndrome (“PTS”), also known as brachial neuritis, caused by the vaccine. She further
alleges that she experienced the residual effects of these conditions for more than six
months.



1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Respondent denies that Petitioner sustained any SIRVA Table injury or brachial
neuritis; denies that the vaccine caused Petitioner’s alleged shoulder injury, brachial
neuritis, or any other injury; and denies that Petitioner’s current condition is a sequela of
a vaccine-related injury.

        Nevertheless, on September 21, 2022, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. I find the
stipulation reasonable and adopt it as my decision awarding damages, on the terms set
forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $35,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


VERONICA WILLIAMS,

                        Petitioner,
                                                             No. 20-1499V (ECF)
V.                                                           Chief Special Master Corcoran

SECRETARY OF HEALTH
AND HUMAN SERVICES,

                        Respondent.



                                         STIPULATION

       The parties hereby stipulate to the following matters:

        1. Veronica Williams ("petitioner") filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-10 et seq. (the "Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of the influenza vaccine, which vaccine is contained in the Vaccine Injury Table (the "Table"),

42 C.F.R. § 100.3(a).

       2. Petitioner received an influenza vaccine in the right deltoid on October 30, 2017.

       3. The vaccination was administered within the United States.

       4. Petitioner alleges that petitioner sustained a shoulder injury related to vaccine

administration ("SIRVA") as set forth in the Table, and Parsonage-Turner Syndrome, also

known as brachial neuritis, caused by the vaccine. Petitioner further alleges that petitioner

experienced the residual effects of these conditions for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on petitioner's behalf as a result of petitioner's condition.
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          6. Respondent denies that petitioner sustained any SIRVA Table injury or brachia}

neuritis; denies that the vaccine caused petitioner's alleged shoulder injury, brachia} neuritis, or

any other injury; and denies that petitioner's current condition is a sequela of a vaccine-related

injury.

          7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

          8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U .S.C. § 300aa-2 l (a)(l ), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

          A lump sum of $35,000.00 in the form of a check payable to petitioner. This
          amount represents compensation for all damages that would be available under 42
          U.S.C. § 300aa-l 5(a).

          9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-2l(a)(l), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

          I 0. Petitioner and petitioner's attorney represent that compensation to be provided

pursuant to this Stipulation is not for any items or services for which the Program is not

primarily liable under 42 U.S.C. § 300aa-l 5(g), to the extent that payment has been made or can

reasonably be expected to be made under any State compensation programs, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act



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(42 U.S.C. § 1396 et seq.)), or by entities that provide health services on a pre-paid basis.

        11. Payment made pursuant to paragraph 8 of this Stipulation and any amounts awarded

pursuant to paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-

l 5(i), subject to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for petitioner's benefit as contemplated by a strict

construction of 42 U .S.C. §§ 300aa-l 5(a) and (d), and subject to the conditions of 42 U.S.C.

§§ 300aa-l 5(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in petitioner's

individual capacity, and on behalf of petitioner's heirs, executors, administrators, successors or

assigns, does forever irrevocably and unconditionally release, acquit and discharge the United

States and the Secretary of Health and Human Services from any and all actions or causes of

action (including agreements, judgments, claims, damages, loss of services, expenses and all

demands of whatever kind or nature) that have been brought, could have been brought, or could

be timely brought in the Court of Federal Claims, under the Vaccine Program, 42 U.S.C.

§ 300aa- l Oet seq., on account of, or in any way growing out of, any and all known or unknown,

suspected or unsuspected personal injuries to or death of petitioner resulting from, or alleged to

have resulted from, the influenza vaccination administered on October 30, 2017, as alleged by

petitioner in a petition for vaccine compensation filed on or about October 29, 2020, in the

United States Court of Federal Claims as petition No. 20-1499V.

       14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.



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        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Service that the influenza vaccine caused petitioner's alleged

injury or any other injury or petitioner's current disabilities, or that petitioner suffered an injury

contained in the Vaccine Injury Table.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION




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     Respectfully submitted,

     PETITIONER:


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     VERONICA WILLIAMS


     ATTORNEY OF RECORD                                            AUTHORIZED REPRESENTATIVE
     FOR PETITIONER:                                               OF THE ATTORNEY GENERAL:



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     AUTHORIZED REPRESENTATIVE                                     ATTORNEY OF RECORD FOR
     OF THE SECRETARY OF .HEALTH                                   RESPONDENT:
     AND HUMAN SERVICES:
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     CDR GEORGE REED GRIMES, rvffi, MPH
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    Dated:    't / V / 'Z.{)'Z2_;


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